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10    Attorneys for The Baupost Group, L.L.C.,
      as the managing general partner and investment
11    manager for certain entities that indirectly
      hold subrogation claims
12
                       UNITED STATES BANKRUPTCY COURT
13
                       NORTHERN DISTRICT OF CALIFORNIA
14                          SAN FRANCISCO DIVISION
     In re:                           Case No. 19-30088 (DM)
15                                    Chapter 11
     PG&E CORPORATION,                (Jointly Administered)
16
                 -and-                                 JOINDER IN THE AD HOC GROUP OF
17                                                     SUBROGATION CLAIM HOLDERS’ REPLY
     PACIFIC GAS AND ELECTRIC                          IN SUPPORT OF DEBTORS’ MOTION
18   COMPANY,                                          PURSUANT TO 11 U.S.C. §§ 363(b) AND 105(A)
                                                       AND FED. R. BANKR. P. 6004 AND 9019 FOR
19                  Debtors.                           ENTRY OF AN ORDER (I) AUTHORIZING
                                                       THE DEBTORS TO ENTER INTO
20                                                     RESTRUCTURING SUPPORT AGREEMENT
     ☐ Affects PG&E Corporation
                                                       WITH THE CONSENTING SUBROGATION
21   ☐ Affects Pacific Gas and Electric                CLAIMHOLDERS, (II) APPROVING THE
        Company                                        TERMS OF SETTLEMENT WITH SUCH
22   Affects both Debtors                             CONSENTING SUBROGATION
     * All papers shall be filed in the lead case,     CLAIMHOLDERS, INCLUDING THE
23   No. 19-30088 (DM)                                 ALLOWED SUBROGATION CLAIM
                                                       AMOUNT, AND (III) GRANTING RELATED
24                                                     RELIEF
25                                                     Date:    October 23, 2019
                                                       Time:    10:00 a.m. (Pacific Time)
26                                                     Place:   United States Bankruptcy Court
                                                                Courtroom 17, 16th Floor
27                                                              San Francisco, CA 94102
28


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 1            The Baupost Group, L.L.C., as the managing general partner and investment manager for

 2   certain entities that indirectly hold subrogation claims (“Baupost”) hereby submits this Joinder (the

 3   “Joinder”) in the Reply of the Ad Hoc Group of Subrogation Claim Holders in Support of Debtors’

 4   Motion Pursuant to 11 U.S.C. §§ 363(b) and 105(A) and Fed. R. Bankr. P. 6004 and 9019 for Entry

 5   of An Order (I) Authorizing the Debtors to Enter into Restructuring Support Agreement with the

 6   Consenting Subrogation Claimholders, (II) Approving the Terms of Settlement with Such Consenting

 7   Subrogation Claimholders, Including the Allowed Subrogation Claim Amount, and (III) Granting

 8   Related Relief [Dkt. No. 4348] (the “Subrogation Group Reply”). Baupost is a substantial creditor

 9   of these estates, a major holder of insurance subrogation claims, and a member of the Steering

10   Committee of the Ad Hoc Group of Subrogation Claim Holders (the “Ad Hoc Subrogation

11   Group”).1

12            Notwithstanding the flurry of objections to the Motion,2 one thing is not fairly disputable—

13   settling $20 billion of asserted subrogation claims against these estates for $11 billion is a good idea.

14   Instead of challenging this critical component of the proposed settlement (the substantial

15   compromise of the subrogation claims), the objections to the Motion fall into two general categories:

16   objections to specific provisions of the restructuring support agreement (“RSA”) and objections to

17   the Debtors’ plan of reorganization. The former—objections to the RSA—are relatively narrow and

18   have been fully addressed in the Subrogation Group Reply in which Baupost joins. Significantly,

19   the Ad Hoc Subrogation Group and the Debtors have agreed to certain key modifications to the RSA

20   in response to the objections. Objections to specific provisions of the Debtors’ plan need not be

21   determined in connection with approval of the RSA. The RSA simply binds the Debtors to

22   prosecute a plan consistent with its terms; the Court is not being asked to determine at this time

23   whether that plan is confirmable. There will be ample time for interested parties to object to the

24   Debtors’ plan and for the Debtors to make any appropriate modifications to it.

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26   1
       Baupost’s holdings of equity, subrogation claims, other unsecured wildfire claims, and other rights are set
27   forth in the Fifth Amended Verified Statement of the Ad Hoc Group of Subrogation Claim Holders Pursuant
     to Bankruptcy Rule 2019 [Dkt. No. 4302].
28   2
      Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Subrogation
     Group Reply.
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 1            Baupost submits this Joinder to underscore an important attribute of the Ad Hoc Subrogation

 2   Group’s $11 billion proposed settlement with the Debtors that the TCC overlooks: the proposed

 3   settlement makes it more, not less, likely that the Debtors will remain solvent and that individual

 4   Fire Victims will be paid in full.

 5            The TCC argues that the Court should not approve the proposed settlement now because,

 6   until the estimation proceedings before Judge Donato “are completed in March, no one in these

 7   Cases can credibly argue that they know what is required to pay Fire Victims in full.” TCC

 8   Opposition to Motion [Dkt. No. 4232] at 2. The TCC further argues that, in a scenario in which this

 9   Court approves the proposed settlement and Judge Donato then “estimate[s] high” (i.e., estimates the

10   individual Fire Victims’ damages at a level that significantly exceeds the cap contemplated by the

11   Debtors’ proposed plan), the Debtors could be rendered insolvent and have insufficient distributable

12   value to fully pay the Ad Hoc Subrogation Group’s $11 billion allowed claim and also pay

13   individual Fire Victims for “the entirety of their damages.” Id. at 3. To avoid the Debtors’

14   insolvency and a scenario in which individual Fire Victims are not paid in full, the TCC insists that

15   the treatment of the Ad Hoc Subrogation Group’s claims should be resolved “solely in connection

16   with plan confirmation”—or at least deferred until some unspecified point when the TCC has

17   complete confidence that individual “Fire Victims will receive an actual recovery of their actual

18   damages, in full.” Id.

19            The TCC’s argument fails to appreciate that the Ad Hoc Subrogation Group members’

20   settlement of their $20 billion in claims for $11 billion at this stage of the case dramatically increases

21   the likelihood that the Debtors will remain solvent and be able to pay individual Fire Victims in full

22   even if Judge Donato were to “estimate high.” The reason for this is that the same factual and legal

23   findings that would be necessary for the Debtors’ liability to the individual Fire Victims to be

24   “estimate[d] high” would also result in the Ad Hoc Subrogation Group’s members being entitled to

25   recover damages that approach or even exceed $20 billion. First, the Debtors would need to be

26   found (or estimated to be) liable for the Tubbs Fire—which alone was responsible for approximately

27   40% of the tens of billions of dollars in property damage, as well as other injuries, caused by the

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 1   2017 and 2018 Northern California Wildfires.3 If the individual Fire Victims fail to establish the

 2   Debtors’ liability for the Tubbs Fire, they will be unable to recover for any of their billions of dollars

 3   in claimed injuries arising from that fire. Second, the Debtors would need to be found (or estimated

 4   to be) negligent in connection with the 2017 and 2018 Northern California Wildfires. If the

 5   individual Fire Victims are unable to establish the Debtors’ negligence for any particular fire, they

 6   will be unable to recover for personal injury, wrongful death, or emotional distress relating to that

 7   fire. At most, they will be able to recover damages for their uninsured property losses—and then

 8   only if the Debtors are deemed liable under the theory of inverse condemnation. See generally

 9   Baker v. Burbank-Glendale-Pasadena Airport Auth., 39 Cal. 3d 862, 866 (1985) (inverse

10   condemnation action arises only from the “the taking or damaging . . . of property”). Thus, the only

11   scenario in which the Debtors’ liability to the individual Fire Victims is “estimate[d] high” is one in

12   which the individual Fire Victims establish that the Debtors’ equipment caused the Tubbs Fire and

13   that the Debtors’ negligence was responsible for all of the major 2017 and 2018 Wildfires (including

14   the Tubbs Fire).

15            In this scenario, if the Court declines to approve the proposed settlement and the Ad Hoc

16   Subrogation Group’s members, litigating side-by-side with the individual Fire Victims, prevail in

17   demonstrating that PG&E caused the Tubbs Fire and acted negligently, the Ad Hoc Subrogation

18   Group members’ damages would approach or even exceed $20 billion—an amount that, in

19   combination with the individual Fire Victims’ damages, could tip the Debtors into insolvency and

20   impair their ability to pay individual Fire Victims in full.

21            The proposed settlement redounds to the benefit of the individual Fire Victims by

22   substantially reducing the risk of the Debtors’ insolvency and freeing up over $9 billion in estate

23   value from which the individual Fire Victims (including uninsured individual Fire Victims who have

24   no conceivable made-whole claims) can look to recover in a scenario in which they prevail in

25   establishing that PG&E equipment caused the Tubbs Fire and that PG&E’s negligence caused the

26   2017 and 2018 Northern California Wildfires.

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     3
28    See Debtors’ Motion Pursuant 11 U.S.C. §§ 105(a) and 502(c) for the Establishment of Wildfire Claims
     Estimation Procedures [Dkt. No. 3091], at 20 (“The TCC estimates the Tubbs Fire caused at least $18 billion
     in damages.”).
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 1            The TCC obviously recognizes the benefits of the Court’s granting the Ad Hoc Subrogation

 2   Group members an $11 billion allowed claim. The TCC’s own filed plan of reorganization [Dkt.

 3   No. 4257] is premised on the Ad Hoc Subrogation Group members’ claims being “settled and

 4   allowed in the aggregate amount of $11 billion,” as part of a plan that would cap the individual Fire

 5   Victims’ damages (together with those of Public Entity claimants) at $14.5 billion irrespective of an

 6   estimation in excess of that amount. Presumably, the TCC believes that its proposed plan (which

 7   contemplates a cap on the individual Fire Victims’ claims that is billions of dollars higher than the

 8   cap embedded in the Debtors’ proposed plan) would not make the Debtors insolvent. This confirms

 9   that (1) there is, in fact, no dispute among the parties with respect to the appropriateness of the

10   Debtors’ $11 billion proposed settlement with the Ad Hoc Subrogation Group’s members, and (2)

11   allowing the Ad Hoc Subrogation Group’s claims in this amount will enable the Debtors to pay the

12   individual Fire Victims and the Public Entity claimants in full and thereby fulfill, and obtain the

13   benefits of, AB 1054.

14            Finally, it is clear that the TCC and Noteholders’ joint plan would be unconfirmable in an

15   “estimate high” scenario in which the Court has also rejected the proposed $11 billion settlement.

16   Even after leaving little to no value for existing equity holders, the TCC and Noteholders’ joint plan

17   assumes that the Debtors have at most $25.5 billion in value to distribute between and among the Ad

18   Hoc Subrogation Group’s members, the individual Fire Victims, and the Public Entity claimants. If

19   the proposed settlement is not approved and the Ad Hoc Subrogation Group’s members establish

20   their entitlement to more than $20 billion of this amount, then the TCC and Noteholders’ joint plan

21   will be unable to satisfy the claims of all Fire Victims and, consequently, could not be confirmed.

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 1   Dated: October 21, 2019                   PACHULSKI STANG ZIEHL & JONES LLP

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 3                                             Isaac M. Pachulski
                                               Debra I. Grassgreen
 4
                                               - and –
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